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    1 BROWNE GEORGE ROSS LLP
      Keith J. Wesley (State Bar No. 229276)
    2   kwesley@bgrfirm.com
      Ryan Q. Keech (State Bar No. 280306)
    3   rkeech@bgrfirm.com
      Jason Y. Kelly (State Bar No. 274144)
    4   jkelly@bgrfirm.com
      2121 Avenue of the Stars, Suite 2800
    5 Los Angeles, California 90067
      Telephone: (310) 274-7100
    6 Facsimile: (310) 275-5697
    7 Attorneys for Y.Y.G.M. SA d.b.a. Brandy
      Melville
    8
    9                           UNITED STATES DISTRICT COURT
   10                         CENTRAL DISTRICT OF CALIFORNIA
   11 Y.Y.G.M. SA d.b.a. BRANDY                        Case No. 2:19-cv-04618-RGK (JPRx)
      MELVILLE, a Swiss corporation,                   Judge: Hon. R. Gary Klausner
   12
                   Plaintiff,
   13                                                  PLAINTIFF Y.Y.G.M. SA D.B.A.
            vs.                                        BRANDY MELVILLE’S NOTICE
   14                                                  OF MOTION AND MOTION FOR
      REDBUBBLE, INC., a Delaware                      PARTIAL SUMMARY
   15 corporation,                                     JUDGMENT; MEMORANDUM OF
                                                       POINTS AND AUTHORITIES IN
   16                 Defendant.                       SUPPORT THEREOF
   17                                                  Date: June 1, 2020
                                                       Time: 9:00 a.m.
   18                                                  Crtrm.: 850
   19
                                                       Pre-Trial Conference:       June 15, 2020
   20                                                  Trial Date:                 June 30, 2020
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   23                                REDACTED VERSION OF
   24               DOCUMENT PROPOSED TO BE FILED UNDER SEAL
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    1 TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
    2             PLEASE TAKE NOTICE that on Monday, June 1, 2020, at 9:00 a.m., or as
    3 soon thereafter as this matter may be heard before the Honorable R. Gary Klausner,
    4 in Courtroom 850 – Roybal of this Court located at 255 East Temple Street,
    5 Los Angeles, CA 90012, Plaintiff Y.Y.G.M. SA d.b.a. Brandy Melville (“Plaintiff”
    6 or “Brandy Melville”) will move, and hereby does move, pursuant to Federal Rule of
    7 Civil Procedure 56 for partial summary judgment against Defendant Redbubble, Inc.
    8 (“Redbubble”) with respect to liability on all five claims in the Complaint (Dkt.
    9 No. 1)—(1) trademark infringement and counterfeiting, (2) false designation of
   10 origin, (3) common law unfair competition, (4) contributory trademark infringement,
   11 and (5) vicarious trademark infringement—as to two registered trademarks.
   12             The grounds for this Motion are as follows: based on the undisputed facts and
   13 conclusions of law, Brandy Melville is entitled to judgment as a matter of law that
   14 Redbubble’s use—including its advertisement, offer for sale, and sale—of two of
   15 Brandy Melville’s trademarks registered with the U.S. Patent and Trademark Office
   16 (“USPTO”), bearing Registration No. 5,238,856 (the “Brandy Melville Mark”) and
   17 Registration No. 5,748,883 (the “LA Lightning Mark”) (collectively, the “Marks”), is
   18 likely to cause confusion, cause mistake, or to deceive, thereby constituting trademark
   19 infringement and counterfeiting, false designation of origin, and common law unfair
   20 competition. Alternatively, Brandy Melville is also entitled to judgment as a matter
   21 of law, based on the undisputed facts, that Redbubble’s use of the Brandy Melville
   22 Mark and the LA Lightning Mark constitutes contributory trademark infringement
   23 and vicarious trademark infringement. Brandy Melville does not raise or address in
   24 this Motion, inter alia, the issue of damages regarding Redbubble’s infringement of
   25 the Brandy Melville Mark or the LA Lightning Mark.
   26             This Motion is based on this notice; the accompanying memorandum of points
   27 and authorities; the separate statement of uncontroverted facts and conclusions of law
   28 (the “SUF”); the request for judicial notice, exhibits attached thereto, and its proposed
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    1 order; the declaration of Jamie Goldberg Gerson and exhibit attached thereto (the
    2 “Gerson Dec.”); the declaration of Keith J. Wesley and exhibits attached thereto (the
    3 “Wesley Dec.”); the declaration of Phillip Paley and exhibits attached thereto (the
    4 “Paley Dec.”); the declaration of Jason Y. Kelly and exhibits attached thereto (the
    5 “Kelly Dec.”); the proposed order; notice of lodging; application for leave to file
    6 under seal, as well as the accompanying declaration and proposed order; the record in
    7 this matter; and such other further papers, evidence, and oral and written argument as
    8 may be submitted in connection with this Motion.
    9             This Motion is made following the conference of counsel pursuant to L.R. 7-3
   10 which took place on Monday, April 27, 2020 and continued over the following days.
   11
   12 DATED: May 4, 2020                       BROWNE GEORGE ROSS LLP
   13                                             Keith J. Wesley
                                                  Ryan Q. Keech
   14                                             Jason Y. Kelly
   15
                                               By:        /s/ Keith J. Wesley
   16                                                     Keith J. Wesley
   17                                          Attorneys for Y.Y.G.M. SA d.b.a. Brandy
                                               Melville
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    1                    MEMORANDUM OF POINTS AND AUTHORITIES
    2 I.          INTRODUCTION
    3             This is a case of knowing, obvious trademark counterfeiting.
    4             Plaintiff Brandy Melville—an apparel and lifestyle brand especially popular
    5 with teenage girls and young women—is the owner of the following two registered
    6 trademarks (the “Marks”):
    7
    8             Defendant Redbubble commissioned designs of exact duplicates of Brandy
    9 Melville’s trademarks from its users (sometimes called “artists”) and then advertised,
   10 offered for sale, and sold several products bearing those marks. Below are just a few
   11 examples of Redbubble’s counterfeit products:
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   23 To ensure Brandy Melville enthusiasts are driven to such counterfeits, Redbubble’s
   24 online marketing directs customers seeking Brandy Melville products to the “Brandy
   25 Melville” page on the Redbubble website. Redbubble also ensures those visitors are
   26 constantly reminded of the Brandy Melville designs hosted on Redbubble’s website—
   27 even after the visitor already left the Redbubble website—through advertisements that
   28 “pop up” on their computer screen:
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     7             Redbubble has no legitimate defense. It will attempt to justify the hundreds of
     8 millions of dollars it pockets every year—much of which is made from intellectual
     9 property infringement—by masquerading as a “passive intermediary” that simply
    10 provides a platform through which users can connect with customers and
    11 manufacturers. But the undisputed evidence—from Redbubble’s own documents and
    12 witnesses—exposes this as nothing more than a self-serving falsehood.
    13             Redbubble cannot plausibly deny that its conduct amounts to counterfeiting
    14 Brandy Melville products. As detailed below, Redbubble directs and controls every
    15 aspect of the advertising, offering for sale, and sale of the counterfeit goods. In
    16 exchange for a “service fee,” Redbubble operates the website where the products are
    17 bought, processes the customer’s payment, fields all communications with the
    18 customer, and decides which of its “partner” fulfillers manufactures the product that is
    19 shipped to its customers in Redbubble packaging, tags, and hangtags.                   Indeed,
    20 Redbubble itself has admitted in recent disclosures to its investors that it is “the
    21 principal in the sale.” (SUF ¶¶ 114, 115 (emphasis added).) As one Australian court
    22 correctly concluded, Redbubble’s infringement-dependent business model “derives
    23 revenue from each transaction and controls every step of the transactional engagement
    24 between [a user] and a buyer.” (Id. ¶ 130 (emphasis added); see also id. ¶ 129.) And
    25 Brandy Melville, unsurprisingly, gets paid nothing.
    26             No reasonable juror could find anything other than trademark counterfeiting
    27 based on Redbubble’s advertising, offering for sale, and selling of products bearing
    28 exact or near-exact copies of Brandy Melville’s registered marks. Stone Creek, Inc. v.
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     1             A.    Redbubble Is Liable for Direct Infringement.
     2             The “essential elements” of Plaintiff’s first and second claims “are identical”:
     3 Redbubble is liable if (1) Plaintiff “owns a valid and protectable interest/trademark”
     4 and (2) Redbubble “subsequently and without authorization used a similar mark likely
     5 to cause consumer confusion, deception or mistake.” Shalabi, 352 F. Supp. 2d at 1072-
     6 73.1 There is no genuine dispute of material fact as to these elements.
     7                   1.     The Marks Are Valid, Registered Trademarks.
     8             “[F]ederal registration provides ‘prima facie evidence’ of the mark’s validity
     9 and entitles the plaintiff to a ‘strong presumption’ that the mark is a protectable mark.”
    10 Zobmondo Entm’t, LLC v. Falls Media, LLC, 602 F.3d 1108, 1115 (9th Cir. 2010)
    11 (“[T]he presumption of validity is a strong one, and the burden on the defendant
    12 necessary to overcome that presumption at summary judgment is heavy.”). Here, that
    13 presumption is more than justified. Brandy Melville has strong, valid trademark rights
    14 in both of the Marks. (SUF ¶¶ 24-27.) Each of the Marks is inherently distinctive and
    15 well-known to Brandy Melville’s millions of customers, and thus represents the
    16 Brandy Melville brand and quality in the minds of relevant customers. (Id. ¶¶ 3-4, 9-
    17 13, 21-32.) Every product that Brandy Melville sells features at least one of the Marks.
    18 (Id. ¶ 31.) And the LA Lightning Mark is uniquely popular with Plaintiff’s customers,
    19 being featured on several different products that are available on the website and in its
    20 physical stores. (Id. ¶¶ 28-30.) Each of the Marks is valid and protectable. Pom
    21 Wonderful LLC v. Hubbard, No. 13-cv-6917-RGK, 2016 WL 3621281, at *10 (C.D.
    22 Cal. June 29, 2016) (granting plaintiff summary judgment where the registered
    23 trademark “clearly” demonstrated “ownership of a valid, protectable mark”).
    24                   2.     Redbubble’s Infringing Use of the Marks Is Likely to Cause,
    25                          and Actually Has Caused, Confusion.
    26             The second element is “that Defendant’s use of a similar mark is likely to cause
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         Trademark infringement also amounts to common law unfair competition. E.g.,
    28 Kythera Biopharms., Inc. v. Lithera, Inc., 998 F. Supp. 2d 890, 897 (C.D. Cal. 2014).
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     1 confusion.” DC Comics v. Towle, 989 F. Supp. 2d 948, 955 (C.D. Cal. 2013); see also
     2 Shalabi, 352 F. Supp. 2d at 1072-73. The record demonstrates that Redbubble not
     3 only uses the Marks in connection with its advertising and sale of products, but has
     4 done so in such an extensive and intentional way as to constitute counterfeiting.
     5                         a.     Redbubble Is Engaged in Extensive Use of Brandy
     6                                Melville’s Marks that Amounts to Counterfeiting.
     7             “Counterfeiting,” which Redbubble is engaged in with respect to Brandy
     8 Melville’s products, “is a more specialized case of trademark infringement because a
     9 counterfeit ‘is a spurious mark which is identical with, or substantially
    10 indistinguishable from, a registered mark.’” UL LLC v. Space Chariot Inc., 250 F.
    11 Supp. 3d 596, 608 (C.D. Cal. 2017) (granting plaintiff partial summary judgment).
    12 Although “most classic cases of counterfeiting involve a famous mark being applied
    13 to a shoddy product,” “[t]he more pertinent question is whether the marks, not the
    14 goods, are substantially identical.” H-D U.S.A., LLC v. SunFrog, LLC, 311 F. Supp.
    15 3d 1000, 1027 (E.D. Wis. 2018) (concluding case against online print-on-demand
    16 company “is a counterfeiting case”).
    17             To be sure, Redbubble’s counterfeiting “use” of the Marks is not limited to its
    18 sale of counterfeit goods.          It also includes “offering for sale, distribution, or
    19 advertising” of counterfeit goods (15 U.S.C. § 1114(1)(a)), as well as using counterfeit
    20 marks in any “advertisements intended to be used in commerce” (15 U.S.C.
    21 § 1114(1)(b)). Such counterfeiting “use” for an online print-on-demand company like
    22 Redbubble includes electronically maintaining an infringing design, advertising an
    23 infringing design, selling products bearing an infringing design, and processing the
    24 payment for those products. SunFrog, 311 F. Supp. 3d at 1029-30 (“This is use in
    25 commerce.”).
    26             In all of the following ways, Redbubble engages in counterfeiting through its
    27 use of the Marks in its solicitation, offer for sale, manufacture, sale, and delivery of,
    28 inter alia, clothing, stickers, and cellphone cases. (E.g., SUF ¶ 44-47, 159-162, 176-
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     1 the [infringing products] other than that they were acquired from [defendant]”).
     2             Redbubble has publicly disclosed that it is the “principal in the sale.” (SUF
     3 ¶¶ 114, 115.) It also collects and remits sales tax to the State of California for each
     4 transaction. (Id. ¶ 116.) In California, “every retailer engaged in business in this state
     5 and making sales of tangible personal property . . . shall, at the time of making the
     6 sales . . . collect the tax from the purchaser[.]” Cal. Rev. & Tax Code § 6203(a)
     7 (emphasis added). And, in California, “[a]n order . . . to buy goods for prompt or
     8 current shipment shall be construed as inviting acceptance either by a prompt promise
     9 to ship or by the prompt or current shipment of conforming or nonconforming
    10 goods[.]” Cal. Com. Code § 2206(1)(b); see also Starbucks Corp. v. Amcor Packaging
    11 Dist., No. 13-cv-1754, 2016 WL 3543371, at *5 (E.D. Cal. June 24, 2016). This, too,
    12 is an independent basis to hold Redbubble liable for its counterfeiting of the Marks.
    13 GMA Accessories, Inc. v. BOP, LLC, 765 F. Supp. 2d 457, 463 (S.D.N.Y. 2011)
    14 (“direct sale of an infringing product is sufficient to create liability”).
    15             Each of these forms of use warrants finding liability regardless of any blame
    16 Redbubble may throw at its fulfiller “partners.”3
    17                          b.     Redbubble’s Counterfeiting Creates a Likelihood of
    18                                 Confusion.
    19             Because Redbubble is a counterfeiter, likelihood of confusion is presumed, and
    20 a step-by-step Sleekcraft examination is unnecessary. Shalabi, 352 F. Supp. 2d at 1073
    21 (“‘[I]n cases involving counterfeit marks, it is unnecessary to perform the step-by-step
    22 examination . . . because counterfeit marks are inherently confusing.’”). Even were
    23 that not the case, each Sleekcraft factor confirms this Motion should be granted.4
    24
         3
          E.g., C & L Intern. Trading Inc. v. Am. Tibetan Health Institute, Inc., No. 13-cv-
    25 2638, 2015 WL 1849863, at *5 (S.D.N.Y. Apr. 22, 2015) (“‘It is no defense that a
       distributor did not actually affix the infringing mark to the goods[.]’”); Levi Strauss,
    26 121 F.3d at 1312 (“[The Lanham Act] does not require that the defendant be in
       possession of counterfeit goods at the time of the offer[.]”).
    27 4
         The eight Sleekcraft factors “determine whether confusion is likely: (1) the strength
    28 of  the mark; (2) the proximity of the goods; (3) the similarity of the marks;
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     1             Strength of the Marks. The more likely a mark “is to be remembered and
     2 associated in the public mind with the mark’s owner . . . the greater the protection it is
     3 accorded by the trademark laws.” Brookfield Commc’ns, Inc. v. W. Coast Ent. Corp.,
     4 174 F.3d 1036, 1058 (9th Cir. 1999). A trademark’s “strength” is evaluated based on
     5 its commercial and conceptual strength. GoTo.com, Inc. v. Walt Disney Co., 202 F.3d
     6 1199, 1207 (9th Cir. 2000). “Commercially, the strongest marks are those with a high
     7 degree of marketplace recognition,” and “[c]onceptually, the strongest marks are
     8 arbitrary or fanciful marks that ‘have no relevance to any feature or characteristic’ of
     9 the product.” FAZE, 2018 WL 3830027, at *4 (quoting UL LLC, 250 F. Supp. 3d at
    10 609-10); see also JL Beverage Co., LLC v. Jim Beam Brands Co., 828 F.3d 1098, 1107
    11 (9th Cir. 2016) (marks that “employ words and phrases with no commonly understood
    12 connection to the product . . . ‘trigger the highest degree of trademark protection’”).
    13             Brandy Melville is a global brand with an incredible online presence, popularity
    14 with celebrities, and strong retail presence. (SUF ¶¶ 1-23.) Each of the Marks is
    15 inherently distinctive and every item sold at Brandy Melville bears at least one of the
    16 Marks. (Id. ¶¶ 24-32.) The Brandy Melville Mark contains the Brandy Melville name
    17 and is featured prominently at the brand, and the LA Lightning Mark has been
    18 displayed and sold on several different products online and in retail locations. (Id.)
    19 The Marks are also strong because they are registered. (Id. ¶¶ 24, 26.) Zobmondo,
    20 602 F.3d at 1121 (a registered mark “‘is strong evidence that the mark satisfies the
    21 statutory requirements for distinctiveness necessary for trademark protection’”).
    22             Similarity of the Marks. “‘[T]he greater the similarity between the two marks
    23 at issue, the greater the likelihood of confusion.’” HM Elecs., Inc. v. R.F. Techs., Inc.,
    24
    25 (4) evidence of actual confusion; (5) the marketing channels used; (6) the type of
       goods and the degree of care likely to be exercised by the purchaser; (7) the
    26 defendant’s intent in selecting the mark; and (8) the likelihood of expansion of the
       product lines.” S. Cal. Darts, 762 F.3d at 930. These factors are “‘not a rote
    27 checklist,’” FAZE Apparel, LLC v. Faze Clan, Inc., No. 18-cv-2052-RGK, 2018 WL
       3830027, at *3 (C.D. Cal. May 22, 2018), and “[n]ot all factors are created equal,”
    28 Stone Creek, 875 F.3d at 431.
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     1 No. 12-cv-2884, 2013 WL 12074966, at *4 (S.D. Cal. Oct. 3, 2013) (finding “a high
     2 similarity of the marks” despite the two marks having “slight differences in
     3 appearance” in size and color).
     4             The LA Lightning Mark. The infringing designs on Redbubble’s website are
     5 counterfeits, extremely similar—if not identical—to the LA Lightning Mark.
     6 Redbubble used an identical design, as well as versions in different colors—including
     7 red, which Brandy Melville also uses—in advertisements, stickers, and clothing. (SUF
     8 ¶ 14, 28-30, 46, 159-161.) There is a “very strong likelihood” of confusion in this
     9 case. Nat. Ass’n of Realtors v. Champions Real Estate Servs. Inc., 812 F. Supp. 2d
    10 1251, 1260 (W.D. Wash. 2011); see also Stone Creek, 875 F.3d at 432 (“liability is
    11 ‘open and shut’” in “cases involving identical marks on competitive goods”) (quoting
    12 4 McCarthy on Trademarks and Unfair Competition § 23.20 (4th ed. 2017)).
    13             The Brandy Melville Mark. Like the Brandy Melville Mark, Redbubble’s marks
    14 display the brand’s name in black font with a pink heart between the two words. (SUF
    15 ¶¶ 24-25, 31-32, 47, 160, 162.) The infringing design is identical to the Brandy
    16 Melville Mark in capital letters and is nearly identical to the Brandy Melville Mark in
    17 lowercase letters. (Id.) Confusion is likely because “dominant portions of the two
    18 marks are the same.” Country Floors, Inc. v. P’ship Composed of Gepner & Ford,
    19 930 F.2d 1056, 1065 (3d Cir. 1991).5 Redbubble publicly concedes the same. (See id.
    20 ¶ 124.)
    21             Proximity or Relatedness of the Goods. “Goods are proximate if they are
    22 ‘similar in use and function’ and ‘would be reasonably thought by the buying public
    23 to come from the same source if sold under the same mark.’” DC Comics, 989 F.
    24 Supp. 2d at 959 (infringer’s replica cars were “the same” as markowner’s “full-size
    25 and toy versions” of car). Proximity is high in this case. Brandy Melville is in the
    26
    27   5
            See also Brookfield, 174 F.3d at 1055 (similarity despite “differences in
    28 capitalization and the addition of ‘.com’”); Pom Wonderful, 2016 WL 3621281, at *11
       (infringement as a matter of law despite, inter alia, differences in capitalization).
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     1 transaction between” the user and the customer. (Id. ¶ 178; see also id. ¶¶ 90-95.)
     2 Redbubble’s users also “authorize Redbubble to collect, hold and distribute the retail
     3 price” from customers and to “complete any transactions in progress in relation to
     4 [their] products . . . .” (Id. ¶¶ 179, 180; see also id. ¶¶ 176, 178.)
     5             Third, Redbubble exercises joint and substantial control over the infringing
     6 products that the fulfillers create. (E.g., id. ¶¶ 114, 115, 130.) Redbubble controls
     7 their quality with “different metrics” that “measure every single step of the experience”
     8 so that Redbubble can “take action in the field whether it’s with a better carrier or
     9 better printing partners.” (Id. ¶ 88.) Redbubble even has “our quality manager
    10 physically visit every single fulfiller and perform quality controls at the location of
    11 printing to make sure that the blank products, whether it’s a T-shirt or a phone case, or
    12 the printing performs to our expectations.” (Id. ¶ 89.) At bottom, Redbubble’s “team
    13 of product developers” are tasked with “mak[ing] sure that all Redbubble products fit
    14 to the Redbubble standard.” (Id. ¶ 85.) Redbubble’s control is no secret: the products
    15 purchased on Redbubble’s website are packaged and delivered in Redbubble-branded
    16 materials upon Redbubble’s instruction. (Id. ¶¶ 74-76.) And any returns of the
    17 products go to Redbubble, which decides whether to donate or destroy the item. (Id.
    18 ¶ 91; see also id. ¶¶ 93-95.)
    19 V.          CONCLUSION
    20             Accordingly, this Court should grant this Motion and find Redbubble liable for
    21 counterfeiting and infringing the Brandy Melville Mark and the LA Lightning Mark.
    22 DATED: May 4, 2020                        BROWNE GEORGE ROSS LLP
                                                    Keith J. Wesley
    23                                              Ryan Q. Keech
                                                    Jason Y. Kelly
    24
    25                                           By:        /s/ Keith J. Wesley
                                                            Keith J. Wesley
    26
                                                 Attorneys for Y.Y.G.M. SA d.b.a. Brandy
    27                                           Melville
    28
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